Case 18-10614-jal         Doc 43    Filed 09/07/18   Entered 09/07/18 15:12:16      Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF KENTUCKY
                              BOWLING GREEN DIVISION


In re:                                           )          Case Number 18-10614 – jal
                                                 )
BRIAN LEE SIMMONS and                            )
MISSY LEE MATHERS SIMMONS                        )                 Chapter 11
                                                 )
                                                 )
                Debtors                          )


                          UNITED STATES TRUSTEES’ OBJECTION
                           TO CERTAIN CLAIMED EXEMPTIONS

         Paul A. Randolph, the Acting United States Trustee (“UST”) for Region 8, by his

Attorney Timothy E. Ruppel, and for his Objection to certain of Debtors claimed Exemptions

states as follows:

         1.         On June 25, 2018, Brian Lee Simmons and Missy Lee Matthews-Simmons

(“Debtors”) filed their voluntary petition under Chapter 11 of the United States Bankruptcy Code

(“Debtors Bankruptcy Case”).

         2.          On July 9, 2018 Debtor filed their remaining bankruptcy documents, schedules

and statements (DOC 16) were the Debtors scheduled the value of their interest in Simmons

Properties LLC and Hillview Eateries Inc. as “unknown” and then claimed an exemption for each

under 11 U.S.C. 522(d)(5) valuing the claimed exemptions for “Simmons Properties LLC as

“unknown” and for Hillview Eateries Inc. as “100% of fair market value up to an any applicable

statutory limit.”

         3.   Simmons Properties LLC should be valued and/or amended to be limited to 100% of


                                                1
Case 18-10614-jal       Doc 43     Filed 09/07/18     Entered 09/07/18 15:12:16        Page 2 of 3




the statutory limit of 11 U.S.C. 522(d)(5). To the extent both Simmons Properties LLC and

Hillview Eateries Inc. are both claimed in 11 U.S.C. 522(d)(5) it is difficult to determine when the

exemption amount has been reached.

       WHEREFORE, the Acting United States Trustee, Paul A. Randolph, by and through his

attorney, prays the Debtor’s exemptions, as objected to, be denied as claimed and that the Debtor

be allowed to Amend their Schedule C to determine a value and for further relief that this Court

deems just and equitable.

                                                     Respectfully submitted,

                                                     Paul A. Randolph Acting
                                                     United States Trustee

                                                     /s/ Timothy E. Ruppel

                                                     Timothy E. Ruppel
                                                     Attorney for U.S. Trustee




                                                2
Case 18-10614-jal     Doc 43    Filed 09/07/18    Entered 09/07/18 15:12:16     Page 3 of 3




In Re Simmons
18-10614 –jal


                               CERTIFICATE OF SERVICE


The Undersigned certifies that a copy of the foregoing will served electronically upon the
following:

Scott        A.       Bachert                                   sbachert@kerricklaw.com,
mwyatt@kerricklaw.com;mcarpenter@kerricklaw.com
•Robert C. Chaudoin chaudoin@harlinparker.com, rachel@harlinparker.com
•John H. Dwyer jdwyer@zielkefirm.com, belindab@zielkefirm.com
•Larry F. Hinton tiffany@rjhp-law.com, katie@rjhp-law.com
•Charles R. Merrill ustpregion08.lo.ecf@usdoj.gov
•Tim Ruppel ustpregion08.lo.ecf@usdoj.gov, tim.ruppel@usdoj.gov

and a paper copy was also served upon the following and the following addresses, by U.S.Mail,
postage fully prepaid all on September 7, 2018:

Synchrony Bank
c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541




                                                        /s/ Timothy E. Ruppel

                                                        Timothy E. Ruppel




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